Re: plumeria hale/Warta;
          Case           Civ No 16-1-1777
                  1:21-cv-00100-LEK-WRP          Document 44-2 Filed 01/24/22 Page 1 of 7                    PageID #:
                                                         394

         Subject: Re: plumeria hale/Warta; Civ No 16-1-1777
         From: Bruce Sherman <bfs@bfshermanlaw.com>
         Date: 1/24/19, 11:36 AM
         To: Marcus Busekrus <mbusekrus@hawaiilegal.com>
         BCC: HMWarta <hmwarta@yahoo.com>

           SUBJECT TO RULE H.R.E. RULE 408

         Marcus,
            Mr. Warta will want to know the actual breakdown of attorney fees. My understanding
         is that he is on an automatic payment plan, so it is surprising that he is in arrears for
         maintenance fees and electric charges. If his payments have been first going to satisfy
         the alleged attorneys fees and not being credited towards his maintenance fees/electric
         fees, thus resulting in the maintenance fees being in arrears then confirm this. Basically,
         without prevailing in a case your client is awarding itself attorneys fees and then
         transforming these into late or non-payed maintenance fees/electric. I will, of course
         forward your letter to Mr. Wart, but I cannot advise him to accept the amount of your
         alleged attorney fees on faith. Mr. Warta needs to see the actual invoices. You can
         understand this in the context of this litigation. Furthermore, if Mr. Warta's credit has
         been impaired in any way as a result of your attorneys fees/maintenance fees then that is
         another matter. I would also need to see the AOAO's monthly invoices to Mr. Warta
         beginning at the time of the first alleged violation on a month by month basis. It is my
         hope that we can resolve this without further litigation, but without the documents
         described above, it is impossible to competently advise Mr. Warta. It may be best if we
         discuss these matters by telephone.
            Sincerely,
            Bruce

         On 1/24/19 10:39 AM, Marcus Busekrus wrote:

           Hi Bruce,
           Hope all is well. I am following up to see if we can ﬁnally se9le the issue of a9orneys’ fees in this ma9er. I
           spoke with the Board at length, and I explained that li?ga?on is never a sure thing. I worked with them to
           try and come up with a number that both par?es could live with, in the hopes that we wouldn’t have to
           bargain back and forth endlessly.
           Mr. Warta’s current account balance is $28,300.35 (comprised of maintenance fees, late fees, electricity
           charges, and a9orneys’ fees). The Board agreed to oﬀer a payment plan that would credit $15,000 to Mr.
           Warta’s current account, leaving him with a total balance of only $13,300.35 to pay over a three-year
           period. The Associa?on would make no other claim for a9orneys’ fees, and Mr. Warta would be
           responsible to pay you whatever fees you incurred on his behalf. We have draQed a se9lement agreement
           and payment plan le9er that captures these essen?al terms. We ask that you please review with your
           client and let us know if this works.
           Thank you,
           Marcus




           Marcus A. Busekrus • Associate


                                                          EXHIBIT B
1 of 3                                                                                                            12/12/19, 1:55 PM
Re: plumeria hale/Warta;
          Case           Civ No 16-1-1777
                  1:21-cv-00100-LEK-WRP                      Document 44-2 Filed 01/24/22 Page 2 of 7                                      PageID #:
                                                                     395

          Direct Line (808) 539 1148 mbusekrus@HawaiiLegal.com




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          From: Bruce Sherman <bfs@bfshermanlaw.com>
          Sent: Monday, November 05, 2018 3:14 PM
          To: Marcus Busekrus <mbusekrus@hawaiilegal.com>
          Subject: Re: plumeria hale/Warta; Civ No 16-1-1777

             Marcus,
             I have no objec?on at all to your request for an extension.
             Sincerely,
             Bruce

          On 11/5/18 3:03 PM, Marcus Busekrus wrote:
                   Hi Bruce,
                   Hope all is well. As an update, we are currently working with the board for approval of a
                   se9lement oﬀer in the vein of what we previously discussed. We expect to get you the oﬀer
                   shortly so you can discuss with Jeremy and we can close this ma9er. In the mean?me, our
                   pre-trial statement in the Declaratory Ac?on is due November 20. Would you object to our
                   request for an extension of ?me to ﬁle pre-trial statement?
                   Thanks much,
                   Marcus

                   Marcus A. Busekrus • Associate
                   Direct Line (808) 539 1148 mbusekrus@HawaiiLegal.com




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2 of 3                                                                                                                                             12/12/19, 1:55 PM
Re: plumeria hale/Warta;
          Case           Civ No 16-1-1777
                  1:21-cv-00100-LEK-WRP                    Document 44-2 Filed 01/24/22 Page 3 of 7                                          PageID #:
                                                                   396
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3 of 3                                                                                                                                              12/12/19, 1:55 PM
      Case 1:21-cv-00100-LEK-WRP Document 44-2 Filed 01/24/22 Page 4 of 7                                                           PageID #:
                                         397




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 From: Bruce Sherman <bfs@bfshermanlaw.com>
 Sent: Wednesday, February 05, 2020 3:38 PM
 To: Marcus Busekrus <mbusekrus@hawaiilegal.com>
 Cc: Justin Brackett <justinbrackettlaw@gmail.com>

 [Quoted text hidden]

 [Quoted text hidden]



Marcus Busekrus <mbusekrus@hawaiilegal.com>                                                                               Fri, Feb 7, 2020 at 4:16 PM
To: bfs@bfshermanlaw.com, Justin Brackett <justinbrackettlaw@gmail.com>
Cc: Kapono Kiakona <kkiakona@hawaiilegal.com>


 Bruce, Justin,

 Assuming Mr. Warta pays all his delinquent maintenance fees and electricity payments, the only remaining balance on his
 ledger will be for attorneys’ fees ($25,457.90) and late fees ($220.00), for a total of $25,677.90. The Board’s counter-offer
 to settle this case is to discount $15,000 from the total attorneys’ fees and late fees assessed to his ledger and accept a
 total payment by Mr. Warta of $10,677.90 in satisfaction of the attorneys’ fees and late fees claimed. The Association
 may also be open to a long-term payment plan (i.e., more than a year). As far as Mr. Warta’s payment of the delinquent
 Maintenance Fee and Electricity charges, that amount will be provided in a separate payoff letter.

 Thanks and we look forward to your response.

 Marcus

 Counsel for AOAO Plumeria Hale




 Marcus A. Busekrus • Associate

 Direct Line (808) 539 1148 mbusekrus@HawaiiLegal.com
       Case 1:21-cv-00100-LEK-WRP Document 44-2 Filed 01/24/22 Page 5 of 7                                                           PageID #:
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  From: Bruce Sherman <bfs@bfshermanlaw.com>
  Sent: Wednesday, February 05, 2020 3:38 PM
  To: Marcus Busekrus <mbusekrus@hawaiilegal.com>
  Cc: Justin Brackett <justinbrackettlaw@gmail.com>

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  [Quoted text hidden]



Bruce Sherman <bfs@bfshermanlaw.com>                                                                                    Fri, Feb 21, 2020 at 12:07 PM
Reply-To: bfs@bfshermanlaw.com
To: Justin Brackett <justinbrackettlaw@gmail.com>




     Justin,
     No clear date, but we should respond in the not too distant future.
     Bruce

  -------- Forwarded Message --------
  Subject:RE: Plumeria Hale v. Warta
       Date:Fri, 7 Feb 2020 16:16:47 -1000
      From:Marcus Busekrus <mbusekrus@hawaiilegal.com>
          To:bfs@bfshermanlaw.com, Justin Brackett <justinbrackettlaw@gmail.com>
         CC:Kapono Kiakona <kkiakona@hawaiilegal.com>
  [Quoted text hidden]



Bruce Sherman <bfs@bfshermanlaw.com>                                                                                   Wed, Feb 26, 2020 at 4:48 PM
Reply-To: bfs@bfshermanlaw.com
To: HMWarta <hmwarta@yahoo.com>, Justin Brackett <justinbrackettlaw@gmail.com>


     Jay,
Case 1:21-cv-00100-LEK-WRP Document 44-2 Filed 01/24/22 Page 6 of 7 PageID #:
                                                    399 Please advise as to how much is currently due
   We will relay this to Mr. Warta and respond accordingly.
    to the Association for unpaid dues and how much is due to the Association for unpaid electricity. Thanks
    in advance.



    Sincerely,

    Justin A. Brackett, Esq.

    515 Ward Avenue

    Honolulu, HI 96814

    (808) 377-6778



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    On Fri, Apr 24, 2020 at 3:01 PM Marcus Busekrus <mbusekrus@hawaiilegal.com> wrote:

      Hello Justin and Bruce,

      I have spoken to the Board again regarding this matter than they have instructed me to offer your
      client a settlement offer whereby he pays to the Association a sum of $35,000.00 (thirty-five thousand)
      for the Association to dismiss the case, release the lien, and to zero out Mr. Warta’s delinquency
      (including any unpaid maintenance fees and electricity charges), and he will be responsible for his own
      attorneys’ fees. This offer nullifies all prior offers made regarding this matter. Please let us know your
      response.

      Thanks,

      Marcus




      Marcus A. Busekrus • Associate

      Direct Line (808) 539 1148 mbusekrus@HawaiiLegal.com
Case 1:21-cv-00100-LEK-WRP Document 44-2 Filed 01/24/22 Page 7 of 7                                                       PageID #:
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     From: Justin Brackett <justinbrackettlaw@gmail.com>
     Sent: Friday, February 28, 2020 1:53 PM
     To: Marcus Busekrus <mbusekrus@hawaiilegal.com>
     Cc: Bruce Sherman <bfs@bfshermanlaw.com>; Kapono Kiakona <kkiakona@hawaiilegal.com>;
     Kimberly McCaskey <kmccaskey@hawaiilegal.com>
     Subject: Re: Plumeria Hale v. Warta



              Aloha Marcus,



              Thanks for sending the January 25, 2020 offer to settle this case for $13,300.35 and the
              February 7, 2020 email offering to settle for $10,677.90. Note that these offers conflict
              with the February 20, 2020 demand letter from your firm seeking payment of
              $41,515.37. To that end, and in furtherance of settlement discussions, I request
              responses to the following questions:



              1) Are the demands for maintenance fees so high because some of Mr. Warta's
              automatic debits have been applied to attorney fees? If so, when were Mr. Warta's
              maintenance payments last applied to attorney fees? How much of his maintenance
              fees were applied to attorney fees?

              2) Are the electricity bills getting mailed directly to Mr. Warta?

              3) Why are the attorneys' fees $19,630.81 as of January 25, 2020, but then $32,263.28
              as of February 20, 2020?



              I look forward to your response. Finally, please refrain from denigrating my co-counsel
              and blaming him for your firm's actions, as you did in your January 24, 2020 email to me.
              It is unprofessional on your part to do so. Please also make sure to include my co-
              counsel on all future correspondence.

     Sincerely,

     Justin A. Brackett, Esq.
